            Case 2:17-cv-01574-MRH Document 5 Filed 12/05/17 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


JOHN DOE,                                    : CIVIL DIVISION
                                             :
               Plaintiff,                    :
                                             : Civil Action No. 2:17-CV-01574
       v.                                    :
                                             :
CARNEGIE MELLON UNIVERSITY,                  : JURY TRIAL DEMANDED
                                             :
               Defendants.                   :
                                             :




      PLAINTIFF’S MOTION FOR A TEMPORARY RESTRAINING ORDER
     AND PRELIMINARY INJUNCTION PROHIBITING DEFENDANT FROM
         CARRYING OUT A SECOND HEARING AGAINST PLAINTIFF
 ON DECEMBER 6, 2017 AND FROM TAKING DISCIPLINARY ACTION AGAINST
               PLAINTIFF FOR INITIATING THIS LAWSUIT

       Plaintiff John Doe (“John”), by the undersigned, files this Motion For A Temporary

Restraining Order And Preliminary Injunction Prohibiting Defendant From Carrying Out A

Second Disciplinary Hearing Against Plaintiff On December 6, 2017 And From Proceeding

Against Him For Initiating This Lawsuit, stating, as follows:

       1.      John has brought various claims against Defendant Carnegie Mellon University

(“CMU” or “the University”), including those for breach of contract, violations of Title IX, and

Due Process violations. John has articulated sufficient allegations to demonstrate a likelihood of

success on the merits and that he will suffer irreparable harm if injunctive relief is not granted

and CMU is permitted to proceed with a disciplinary hearing against Plaintiff on December 6,

2017 and take disciplinary action against him for initiating this lawsuit.

       2.      Moreover, granting injunctive relief will not result in any greater harm to CMU.

Finally, there is a great public interest in preserving John’s legal and constitutional rights, and
            Case 2:17-cv-01574-MRH Document 5 Filed 12/05/17 Page 2 of 2



those of students similarly situated. Injunctive relief is often appropriate and granted in cases

similar to the instant matter where universities and students are involved in disciplinary matters.

Therefore, John has presented all of the necessary elements for the injunctive relief sought here.

       3.      Prior to the filing of the Motion, the undersigned communicated with counsel for

CMU via e-mail, providing a copy of the Verified Complaint filed in this matter and giving the

University notice that he would be filing this Motion. A copy of the Motion and brief in support

thereof have also been provided to CMU. See Exhibit A (containing the undersigned’s affidavit

pursuant to Fed.R.Civ.P.65(b)).

       4.      As summarized above and fully addressed in the accompanying brief, which is

incorporated hereto, Plaintiff respectfully moves this court to grant this Motion and to enjoin

Carnegie Mellon University from holding its disciplinary hearing against him on December 6,

2017 and taking disciplinary action against him for initiating this lawsuit.




Dated: December 5, 2017                                                        Respectfully submitted,

                                                       LEECH TISHMAN FUSCALDO & LAMPL, LLC

                                                           By:       /s/ Timothy J. Lyon
                                                                          Timothy J. Lyon, Esquire
                                                                                PA ID No. 200439
                                                                 525 William Penn Place, 28th Floor
                                                                             Pittsburgh, PA 15219
                                                                              Counsel for Plaintiff




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